     Case 3:19-cr-00083-M Document 257 Filed 10/26/20       Page 1 of 4 PageID 2079



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )   No. 3:19-cr-083-M-1
                                            )   Chief Judge Barbara M. G. Lynn
RUEL M. HAMILTON                            )
                                            )




                         MR. HAMILTON’S WITNESS LIST




Abbe David Lowell, Bar No. 358651DC             Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC            WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC             2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                            Dallas, TX 75201
1901 L Street, NW                               DRobbins@winston.com
Washington, DC 20036                            214-453-6100 (ph)
ADLowell@winston.com                            214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)

                         Counsel for Defendant Ruel M. Hamilton
  Case 3:19-cr-00083-M Document 257 Filed 10/26/20                 Page 2 of 4 PageID 2080



       In addition to those individuals the government has indicated to the defense it will call as

witnesses, if Mr. Hamilton puts on a case in chief, he would list the following possible witnesses:




        Witness Name                          Type                       Probable/Possible

 Carolyn King Arnold              Fact                             Possible

 John Baldwin                     Fact                             Possible

 Kristie Bonner                   Fact                             Possible

 Betty Culbreath                  Fact                             Probable

 Ester Davis                      Fact                             Possible

 Joyce Foreman                    Fact                             Probable

 John Gilbert                     Fact                             Probable

 Renita Griggs                    Custodian                        Possible

 Scott Griggs                     Fact                             Possible

 Chris Hamilton                   Fact                             Probable

 John Hamilton                    Custodian                        Possible

 Clay Jenkins                     Fact                             Probable

 Mattye Jones                     Fact                             Probable

 Thomas Jones                     Fact                             Probable

 Philip Kingston                  Fact                             Probable

 Bernadette Nutall                Fact                             Probable

 Kimberly Olsen                   Fact                             Probable

 Diane Ragsdale                   Fact                             Probable

 Regina Turner                    Fact                             Probable

 Albert Wash                      Fact                             Possible


                                                1
 Case 3:19-cr-00083-M Document 257 Filed 10/26/20            Page 3 of 4 PageID 2081



       Witness Name                       Type                     Probable/Possible

 Christy Wiggins               Fact                          Probable


Dated: October 26, 2020

                                  Respectfully submitted,

/s/ Abbe David Lowell
Abbe David Lowell, Bar No. 358651DC              Dion J. Robbins, Bar No. 24114011TX
Christopher D. Man, Bar No. 453553DC             WINSTON & STRAWN LLP
Kaitlin A. Pierce, Bar No. 242020DC              2121 N. Pearl Street, Suite 900
WINSTON & STRAWN LLP                             Dallas, TX 75201
1901 L Street, NW                                DRobbins@winston.com
Washington, DC 20036                             214-453-6100 (ph)
ADLowell@winston.com                             214-453-6400 (fax)
202-282-5000 (ph)
202-282-5100 (fax)

                          Counsel for Defendant Ruel M. Hamilton




                                            2
  Case 3:19-cr-00083-M Document 257 Filed 10/26/20                   Page 4 of 4 PageID 2082



                                 CERTIFICATE OF SERVICE

       I certify that on October 26, 2020, a copy of the foregoing was filed with the Court’s

electronic case filing system, thereby effecting service on counsel for all parties.

                                       /S/Abbe David Lowell
                                       Abbe David Lowell




                                                  3
